        Case 1:09-cr-00909-DC Document 22 Filed 10/20/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -x

UNITED STATES OF AMERICA                :           ORDER

           - against -                  :           09 Cr. 909-1 (DC)

RIGOBERTO RENTERIA-ANDRADE,             :

                       Defendant.       :

- - - - - - - - - - - - - - - - - -x

CHIN, Circuit Judge:

           The next conference in this matter is scheduled for

Wednesday, December 9, 2020, at 1 p.m.        As requested, defense

counsel will be given an opportunity to speak with the

defendant, Rigoberto Renteria-Andrade, by telephone fifteen

minutes before the conference begins.        Accordingly, at 12:45

p.m. on December 9, 2020, the Westchester County Jail will call

defense counsel at the telephone number listed on the docket.

Once an interpreter has been assigned for the teleconference,

Chambers will provide counsel with a telephone number at which

the interpreter can be reached at the time of the pre-

conference; it is counsel's responsibility to conference the

interpreter in with the defendant for the pre-conference.

           Shortly before the teleconference, counsel shall call

(917)-933-2166 and enter the following conference ID: 837 662

922#.   Members of the press and public who wish to listen in on
         Case 1:09-cr-00909-DC Document 22 Filed 10/20/20 Page 2 of 2



the conference may call the same number; but they will not be

permitted to speak during the conference.

            On consent of the parties, in light of current

circumstances, and in the interest of justice, the time until

December 9, 2020, is excluded for speedy trial purposes.

            SO ORDERED.

Dated:      New York, New York
            October 20, 2020



                                           ___s/Denny Chin______________
                                           DENNY CHIN
                                           United States Circuit Judge
                                           Sitting by Designation




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